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                                                                              FILED
                          UNITED STATES DISTRICT COURT                   April 08, 2016
                         EASTERN DISTRICT OF CALIFORNIA                CLERK, US DSITRICT COURT
                                                                         EASTERN DISTRICT OF
                                                                              CALIFORNIA


UNITED STATES OF AMERICA,                           Case No. 2:16-cr-00038-MCE

                  Plaintiff,

      v.                                                ORDER FOR RELEASE OF
                                                         PERSON IN CUSTODY
BRIAN STONE,

                  Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release BRIAN STONE,

Case No. 2:16-cr-00038-MCE from custody for the following reasons:

                        Release on Personal Recognizance
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               - - Bail Posted in the Sum of $ ------------------------
                           X   Unsecured Appearance Bond $  $50,000
                                                           ---------
                               Appearance Bond with 10% Deposit
                        --
                               Appearance Bond with Surety
                       --
                               Corporate Surety Bail Bond
                       --
                               (Other): Report to Pretrial Services at 9:00 AM. on
                           X
                               4/11/2016

      Issued at Sacramento, California on !\prj I 08, 2016 at -._-;;.,..._+­__
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                                    By:
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                                           Magistrafe Judge Carolyn K. D
